          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
                           1:16 CR 39-2


UNITED STATES OF AMERICA,           )
                                    )
     v.                             )                            ORDER
                                    )
DANNY TERRON RONEY,                 )
                                    )
               Defendant.           )
____________________________________)

      This matter is before the Court on Defendant’s “Pro Se Notice to Produce

Proof of Entry of Attorney Appearance” [256]. Upon review of the Notice, the Court

finds the pleading is baseless and the request without any legal reason or cause. The

Court further finds the Notice frivolous. See Adams v. Rice, 40 F.3d 72, 75 (4th Cir.

1994) (“Legally frivolous claims are based on an “indisputably meritless legal

theory” and including “claims of infringement of a legal interest which clearly does

not exist.””) (quoting Neitzke v. Williams, 490 U.S. 319, 327 (1989)).

      Accordingly, the Court STRIKES the Notice [# 256] from the docket.



                                  Signed: March 1, 2018




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